     Case 2:22-cv-01916-FWS-GJS         Document 40    Filed 05/31/22     Page 1 of 2 Page ID
                                             #:198



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                           UNITED STATES DISTRICT COURT
13                        CENTRAL DISTRICT OF CALIFORNIA
14
                                                    CASE NO. 2:22-CV-1916-FWS-GJS
15
      ABDIRAHMAN ADEN KARIYE,
16    et al.,                                       DEFENDANTS’ NOTICE AND
17                        Plaintiffs,               MOTION TO DISMISS THE
                                                    COMPLAINT
18          v.
19
      ALEJANDRO MAYORKAS, Secretary                 Hearing:
20    of the Department of Homeland                 Date: July 28, 2022
      Security, in his official capacity, et al.,
21                                                  Time: 10:00 a.m.
                           Defendants.              Courtroom: 10D
22
23                                                  Honorable Fred W. Slaughter
24                                                  United States District Judge

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26
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     Case 2:22-cv-01916-FWS-GJS      Document 40     Filed 05/31/22   Page 2 of 2 Page ID
                                          #:199




1           PLEASE TAKE NOTICE that Defendants, Alejandro Mayorkas, Secretary of
      the Department of Homeland Security, in his official capacity; Chris Magnus,
2
      Commissioner of U.S. Customs and Border Protection, in his official capacity;
3
      Tae D. Johnson, Acting Director of U.S. Immigration and Customs Enforcement, in
4
      his official capacity; and Steve K. Francis, Acting Executive Associate Director,
5
      Homeland Security Investigations, in his official capacity, will, and hereby do, move
6
      this Court to dismiss the Complaint pursuant to Federal Rule of Civil
7
      Procedure 12(b)(6) for the reasons explained in the accompanying memorandum.
8
           This motion is based on this Notice and Motion and the attached Memorandum
9
      of Points and Authorities.
10
           This motion is made following the conference of counsel pursuant to Local
11    Rule 7-3, which took place on May 24, 2022.
12    Dated: May 31, 2022
13                                          Respectfully submitted,
14
                                            BRIAN M. BOYNTON
15                                          Principal Deputy Assistant Attorney General
16                                          Civil Division
17                                          BRIGHAM J. BOWEN
18                                          Assistant Branch Director
                                            Federal Programs Branch, Civil Division
19
20                                           /s/ Leslie Cooper Vigen
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